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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                    )
                                             )       Case No. 3:18-cv-787-KAD
         Plaintiff,                          )
                                             )
         v.                                  )
                                             )
ZVI KAUFMAN,                                 )
                                             )
         Defendant.                          )
                                             )

  DEFENDANT’S CONSOLIDATED MEMORANDUM OF LAW IN OPPOSITION TO
    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF
     DEFENDANT’S CROSS MOTION FOR PARTIAL SUMMARY JUDGMENT

         Defendant Zvi Kaufman files this Consolidated Memorandum of Law in Opposition to

Plaintiff’s Motion for Summary Judgment [DE 64] and In Support of Defendant’s Cross Motion

for Partial Summary Judgment in his favor. For the purposes of Summary Judgment, Defendant

Zvi Kaufman does not contest the Government’s prima facia case that he failed to timely file

required FBAR forms for Tax Years 2008, 2009, and 2010 by the date they were due. Instead,

Defendant argues that summary judgment is inappropriate because his failure to do so was for

“reasonable cause” and therefore the penalties are not proper under the law. Reasonable cause

exists if Kaufman acted with “ordinary business care.” This is a jury question.

         Additionally, Defendant argues that partial summary judgment is appropriate in his favor

to the extent that the Government seeks penalties greater than those allowed by law. Although the

Government demands judgment “in the amount of $186,679.40, plus interest and statutory

additions from and after December 6, 2019,” the law permits penalties of only $30,000—$10,000

per untimely filed FBAR form. Accordingly, the Court should grant partial summary judgment in

Defendant Kaufman’s favor on this issue.




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                                       INTRODUCTION

         For the most part, the Government’s Motion [DE 64] and supporting memorandum [DE

64–2] do a fine job recounting the legal background and facts of this case. Defendant Kaufman

has lived in Israel since 1979 and of course has had bank accounts in that country for his ordinary

investments, retirement, and personal banking. Because he is also a United States Citizen,

however, US law required him to file FBAR forms in 2008, 2009, and 2010 that disclosed these

Israeli bank accounts to the United States Financial Crimes Enforcement Network (“FinCEN”).

Kaufman was not aware of this legal requirement, however. Accordingly, he did not timely file

these FBAR Forms. When he learned of the requirement, he filed them then. There is no dispute

that Kaufman’s failure to timely file was anything other than an accident. The Government’s

complaint acknowledges that it was not willful.

         Defendant Kaufman’s opposition and cross-motion center around two important issues.

First, Kaufman’s failure to timely file his required FBAR forms was due to “reasonable cause.”

That is, Kaufman failed to timely file these forms even though he acted with ordinary business

care under the circumstances. Notably, at all relevant times, Kaufman hired a competent United

States accountant to prepare his United States tax returns and advise Kaufman on his IRS filing

obligations. Kaufman gave that accountant all the information that he needed. Further, around the

due dates of certain of the FBAR forms, Kaufman suffered two catastrophic health events (a heart

attack in February 2010 and a car accident in which he was struck by a car as a pedestrian in

January 2011) that reasonably interfered with his ability to comply. Whether Kaufman acted with

ordinary business care under these circumstances—and thus with “reasonable cause”—is a



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question for the jury that precludes summary judgment in the Government’s favor. It is completely

unaddressed in the Government’s summary judgment motion.

         Second, the Government’s statement that “the amount of the [non-willful FBAR] penalty

is capped at $10,000 per account per year” [DE 64-2 at 1] is incorrect. The law is presently not

settled as to whether this $10,000 limitation is per account or per FBAR Form. The per-form

limitation is the better reading of the law. Accordingly, Kaufman is subject to a non-willful FBAR

penalty of no more than $30,000—$10,000 for each annual FBAR form that he did not timely file.

The Government’s request for judgment in excess of $186,679.40 is accordingly improper.

Defendant is entitled to partial summary judgment to the extent that the Government seeks

penalties greater than $30,000.

         This Response and Cross-Motion will proceed in three parts. It will briefly articulate the

applicable standard for Summary Judgment under Federal Rule of Civil Procedure 56. Then it will

address the two above-referenced issues.

                                  SUMMARY JUDGMENT STANDARD

         Judge Kari Dooley has recently and correctly articulated the standard applicable to Motions

for Summary Judgment in Bland v. Franceshi, Case No. 3:16-cv-1406, 2019 WL 356828, at *1–

2 (D. Conn. Jan. 29, 2019):

                        The standard under which the Court reviews motions for summary
                judgment is well-established. “The court shall grant summary judgment if the
                movant shows that there is no genuine dispute as to any material fact and the
                movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The
                Court’s inquiry focuses on “whether there is the need for a trial—whether, in
                other words, there are any genuine factual issues that properly can be resolved
                only by a finder of fact because they may reasonably be resolved in favor of
                either party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
                Once the movant meets his burden, the nonmoving party must set forth
                “‘specific facts’ demonstrating that there is ‘a genuine issue for trial.’” Wright
                v. Goord, 554 F.3d 255, 266 (2d Cir. 2009) (quoting Fed. R. Civ. P. 56(e)).
                “[T]he party opposing summary judgment may not merely rest on the

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                allegations or denials of his pleading” to establish the existence of a disputed
                fact. Wright, 554 F.3d at 266; accord Lujan v. Nat'l Wildlife Fed’n, 497 U.S.
                871, 888 (1990). However, until the moving party comes forward with
                evidence that would establish his entitlement to judgment as a matter of law,
                the non-moving party is under no obligation to produce any evidence. Amaker
                v. Foley, 274 F.3d 677, 681 (2d Cir. 2001).

                        “[T]here is no issue for trial unless there is sufficient evidence
                favoring the nonmoving party for a jury to return a verdict for that party. If
                the evidence is merely colorable, or is not significantly probative, summary
                judgment may be granted.” Anderson, 477 U.S. at 249–50. Indeed, summary
                judgment is evaluated in the same fashion as a motion for a directed verdict.
                Id. at 250. The Supreme Court has “noted that the ‘genuine issue’ summary
                judgment standard is ‘very close’ to the ‘reasonable jury’ directed verdict
                standard: The primary difference between the two motions is procedural;
                summary judgment motions are usually made before trial and decided on
                documentary evidence, while directed verdict motions are made at trial and
                decided on the evidence that has been admitted.” Id. at 251. “In essence,
                though, the inquiry under each is the same: whether the evidence presents a
                sufficient disagreement to require submission to a jury or whether it is so one-
                sided that one party must prevail as a matter of law.” Id. at 252–53.

                     However, “at the summary judgment stage the judge’s function is not
                himself to weigh the evidence and determine the truth of the matter but to
                determine whether there is a genuine issue for trial.” Id. at 249. “[C]ourts may
                not make credibility determinations or weigh the evidence when confronted
                with a motion for summary judgment. All evidence presented by the
                nonmoving party must be taken as true, and all inferences must be construed
                in a light most favorable to the nonmoving party.” Catanzaro v. Weiden, 140
                F.3d 91, 93–94 (2d Cir. 1998), on reh'g, 188 F.3d 56 (2d Cir. 1999) (citing
                United States v. Diebold, 369 U.S. 654, 655 (1962) ). In sum, “where the
                facts specifically averred by [the nonmovant] contradict facts specifically
                averred by the movant, the motion must be denied.” Lujan, 497 U.S. at 888.

         There is no need to deviate from this formulation of the well-established summary

judgment standard in the present case.

                                                 ANALYSIS

    I.          Because Kaufman acted with “reasonable cause,” the Government’s Summary
                Judgment Motion must be denied. This is properly a question for the jury.

         This Court must deny the Government’s Motion for Summary Judgment because a jury

question remains as to whether Kaufman’s failure to timely file his FBAR forms was due to


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“reasonable cause.” Whether an individual behaves as a reasonably prudent person under the

circumstances is a question of fact for the jury, and accordingly is not appropriate for summary

judgment. This section will first describe the applicable “reasonable cause” standard. Then, it will

discuss the myriad facts from which a jury could conclude that reasonable cause exists in this case.

                  A.       The “Reasonable Cause” Standard and the Jury’s Crucial Role

         First, discussion of the applicable “reasonable cause” standard is appropriate. Section 5321

of Title 31 of the US Code sets forth the authorization for the FBAR penalty. However, at 31

U.S.C. § 5321(B)(ii)(I), the Code states, “No penalty shall be imposed . . . with respect to any

violation if such violation was due to reasonable cause.”1 “Reasonable cause” in this context is an

affirmative defense upon which Defendant Kaufman bears the burden of proof by a preponderance

of the evidence. See United States v. Garrity, Case No. 3:15-cv-243(MPS), 2018 WL 8263922, at

*2 (D. Conn. May 1, 2018) (citing Nance v. United States, Case No., 2013 WL 1500987, at *5–6

(W.D. Tenn. Apr. 11, 2013)).

         “[T]he term ‘reasonable cause’ is not defined in the Code.” United States v. Boyle, 469

U.S. 241, 246 (1985). But its meaning “has become clear” over the nearly 100 years of its presence

in the statutes. Id. at 245. A person has acted with reasonable cause if he “exercised ordinary

business care and prudence,” but nevertheless failed to fulfil his filing obligations. Id. at 246.

Importantly, “ordinary care” is not the same thing as “perfect care.” See Dillworth v. Gambardella,

970 F.2d 1113 (2d Cir. 1992) (discussing the “ordinary care” standard in the negligence context



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           Section 5321(b)(ii)(II) additionally requires that “the balance in the account at the time of the transaction
was properly reported.” This provision requires that, before a reasonable cause defense can be asserted, a Taxpayer
must have properly reported the relevant account balances on a subsequently filed delinquent FBAR form. See Internal
Revenue Manual 4.26.16.6.4(2)(b) (available at http://irs.gov/irm). There is no dispute that Kaufman has properly
filed accurate but delinquent FBAR forms in fulfilment of this obligation, and therefore this requirement is not at
issue. [See DE 64-5 through 64-7, in which the Government attaches copies of Kaufman’s late-filed FBAR forms to
support its summary judgment motion; DE 64-1, in which the Government uses these delinquent FBARs to establish
the existence of Kaufman’s Israeli accounts.]

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and observing that skiers may lose control “even while exercising due care.”); see also Gresser v.

Union Pacific R. Co., 130 F. Supp. 2d 1009, 1015 (C.D. Cal. 2001) (observing that a railroad’s

duty to exercise ordinary care required it to “keep [a] crosswalk reasonably safe for persons

exercising ordinary care, not to keep it in perfect condition.”). Instead, the standard requires only

the care that an ordinary person would consider reasonable and prudent under the circumstances.

See Black’s Law Dictionary, “Ordinary Care” (11th ed. 2019) (cross-referencing to “care –

reasonable care”).

         The IRS itself acknowledges that a person may act with “ordinary care” but still fail to file

an FBAR form. In elaborating upon the “reasonable cause” standard, the Internal Revenue Manual

observes that an individual may delegate certain tax obligations in appropriate circumstances. The

Manual notes, “Ordinary business care and prudence includes making provisions for business

obligations to be met when reasonably foreseeable events occur.” Internal Revenue Manual

20.1.1.3.2.2(1) (available at http://irs.gov/irm). Further, reasonable cause may exist if a taxpayer

does not know what the law requires of him and hires others to tell him. See Internal Revenue

Manual 20.1.1.3.2.2.6 (observing that “[i]n some instances taxpayers may not be aware of specific

obligations to file and/or pay taxes”). In such circumstances, the law requires only that “taxpayers

make reasonable efforts to determine their tax obligations.” Id.

         Importantly, it has long been established that whether a person has exercised ordinary care

and behaved reasonably under the circumstances is almost always a question of fact for a jury.

This is seen in some of the courts’ earliest cases on ordinary care in the negligence context. See

Mosheuvel v. District of Columbia, 191 U.S. 247, 262–63 (1903) (“[I]t is a question of fact for the

jury whether, in passing over a walk known to be dangerous, instead of taking some other route,

the plaintiff is or is not in the exercise of ordinary care.”). Accord, Lehigh Valley R. Co. v. Kilmer,



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231 F. 628, 635 (2d Cir. 1916) (“The question whether, having stopped and looked and listened

145 feet from the crossing without seeing or hearing anything, ordinary care and prudence required

him to stop again before going upon the tracks, and whether he could have been in the exercise of

due care in looking and listening, when he neither saw nor heard this train until he got upon the

track, were under all the circumstances questions of fact for the jury.”); Erie R. Co. v. Downs, 250

F. 415, 418 (2d Cir. 1918) (“The evidence shows that defendant’s employees, in their work in the

yard where the accident occurred, constantly crossed the tracks, and that that practice was perfectly

well known to all persons engaged in operating trains; and it was left to the jury to say whether

defendant was conducting its business with ordinary care and prudence, if, with knowledge of this

practice, it sent the car or set of cars down from the hump the night in question without any lanterns

or lights, and allowed them to come into collision with the stationary car that was standing on the

track, pushing it a considerable distance, and causing the injury complained of herein.”); Doyle v.

Exxon Corp., 592 F. 2d 44, 47 (2d Cir. 1979) (“While it is true the plaintiff was unable to prove a

precise date on or before which Exxon was to execute its promise, what constituted a reasonable

time for performance became a question of fact properly left to the jury to determine under the

particular circumstances of this case”).

         And, much more recently, the Second Circuit has confirmed that a jury should evaluate

whether conduct constitutes ordinary care. In Williams v. Utica College of Syracuse University,

453 F.3d 112, 118–19 (2d Cir. 2006), the Second Circuit extensively discussed the matter. In

holding that a “District Court erred in finding that, on the facts of [a] case, the issue of breach of

duty could be decided in Appellee’s favor at summary judgment,” the Court discussed “the age-

old debate as to when it is appropriate for a court to decide the question of a defendant’s due care

as a matter of law, rather than allowing a jury to resolve it as an issue of fact.” Id. at 118–19 (citing



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Stagl v. Delta Airlines, Inc., 52 F.3d (2d Cir. 1995)). The Court observed that “Justice Holmes’

view—that standards of conduct ought increasingly to be fixed by the court for the sake of

certainty—has been largely rejected.” Id.(emphasis added). Instead, the Court held, “it is

particularly appropriate to leave [a finding of breach of duty] to the jury” because there is “room

for a difference in view as to whether [the defendant’s] conduct in the particular circumstances of

this case did or did not evidence a lack of due care” and “perhaps above all, because in the

determination of issues revolving about the reasonableness of conduct, the values inherent

in the jury system are rightfully believed an important instrument in the adjudicative

process.” Id. (emphasis added). In other words, what qualifies as ordinary care should be

determined by ordinary folks—that is, a properly constituted jury of the Defendant’s peers.

         B.     Ample evidence could support a reasonable Jury’s conclusion that Kaufman acted
                with “reasonable cause.”

         The caselaw discussed above suggests that whether a defendant has breached a duty of

ordinary care is almost always a jury question. But this is especially so in Kaufman’s case. Ample

evidence could support a reasonable jury’s conclusion that Kaufman acted with “ordinary business

care” and thus “reasonable cause.” A narrative of these facts is included below.

                1.       Kaufman lives and works in Israel, and hired a CPA to advise him of his
                         IRS filing obligations.

         Defendant Kaufman has lived in Israel—not the United States—since 1979, more than

thirty years before his conduct at issue in this case. [Kaufman Aff. at ¶2.]2 He spent his working

life in Israel, and had a successful career as an executive with a pharmaceutical company there. He

remained a United States citizen, however. Although he lived (and, still lives) in Israel, he has

never neglected his US tax filing obligations. [Kaufman Aff. at ¶5.]



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                An affidavit by Defendant Zvi Kaufman is attached as an Exhibit to this filing.

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         Rather, all the way back in 1979, Kaufman hired a competent New York-based CPA named

Larry Foss to handle the filing of his tax returns and any other IRS-enforced reporting

requirements. [Id. at ¶6.] CPA Larry Foss was not only a competent accountant—he was also

Kaufman’s relative through marriage. [Id. at ¶9.] As part of Kaufman’s family, CPA Foss was

entirely aware that Kaufman lived and worked in Israel and that Kaufman maintained numerous

financial accounts in Israel in connection with these activities. [Id.] Each year, CPA Foss timely

prepared Kaufman’s United States income tax returns. [Id.. at ¶11.] However, because Kaufman

already paid Israel’s relatively higher taxes, and the US Internal Revenue Code allows for a credit

for foreign taxes paid, Kaufman rarely had any significant tax liability. [Id.. at ¶13.] Indeed,

Kaufman had no significant US tax liability for 2008, 2009, and 2010—the years at issue in this

case.3 [Id.]

         One thing CPA Foss never did, however, was prepare and file an FBAR Form on

Kaufman’s behalf, or tell Kaufman that he was required to do so. By 1979, the FBAR filing

requirement had been on the books for 9 years. But despite knowing that Kaufman had Israeli

accounts, CPA Foss never informed Kaufman of his FBAR filing obligations and never prepared

or filed an FBAR form on Kaufman’s behalf. [Kaufman Aff’t ¶¶4, 14, 18.] And in light of the

Government’s anemic efforts to publicize the new requirement, Foss’s failure is not surprising.

                 2.       The Government’s efforts to publicize the FBAR requirement from 1970
                          through 2009 were lacking.

         Although Congress enacted the FBAR filing requirement as part of the Bank Secrecy Act

of 1970, the Government did little to publicize the new requirement. Indeed, the Government



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                Specifically, Kaufman had total US tax liabilities of $2,883 for Tax Year 2008, $1,149 for Tax Year
2009, and $356 for Tax Year 2010. His liability for earlier years was even less, or nonexistent. [Kaufman Aff’t at
¶13.]


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appears not to have even regularly kept its own records concerning FBAR compliance until 2002.

That year, Congress required the Treasury Secretary file an annual report on FBAR compliance,

given the perceived benefit that such reporting could have in the Government’s efforts against

international terrorism. See USA-PATRIOT Act, Pub. L. No. 107-56 § 361(b) (2001). This

requirement specifically instructed that the Treasury Secretary’s “initial report shall include

historical data on compliance with such reporting requirements.” Id.

         But the data was thin. The Secretary observed4 only that “FBAR filings since 1991 have

increased 51.9%.” Specifically, “[i]n calendar year 1991, the [IRS Detroit Computing Center]

received 116,600 FBARs” but “[i]n calendar year 2001, the number of FBAR forms posted to the

database was 177,151.” The Treasury Secretary acknowledged that “[i]t is difficult to determine

with any accuracy how many taxpayers are failing to file required FBARs in any calendar year”

but stated that its best estimate based upon limited information was that the compliance rate “could

be less than 20 percent” as of the 2002 report.

         Back in 1979, when Kaufman left the United States for Israel, the FBAR compliance rate

would be even lower. The Treasury Secretary’s 2002 Report acknowledges only four methods that

the Government had used to publicize the FBAR filing requirement by that time. It notes that the

IRS includes the FBAR among its “forms and publications” online. It also notes that FinCEN’s

website5 “posts a ‘Reminder of Requirement to File a Report of Foreign Bank and Financial

Accounts, Form TD F 90-22.1 (FBAR)’ to highlight the need to file the form.” It observes that the

requirement is listed in IRS Publication 54–Tax Guide for U.S. Citizens and Resident Aliens


         4
                These quotations are pulled from “A Report to Congress in Accordance with § 361(b) of the USA
PATRIOT Act,” submitted to Congress by the Secretary of the Treasury on April 27, 2002. It is available on the
Treasury Department’s website at https://www.treasury.gov/press-center/press-releases/Documents/fbar.pdf
         5
                   The Report contains no information indicating that any reasonable taxpayer would ever have
occasion to visit FinCEN’s website. The very idea is absurd. That this was included as an example of the Treasury
Department’s publicity efforts speaks volumes.

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Abroad. And it notes that “[t]he primary notification to a person that it may need to file an FBAR

form . . . is guidance provided in the IRS Form 1040” itself. Specifically, Taxpayers that file a

form Schedule B are instructed to file an FBAR reporting their foreign accounts.

         But none of these existed in 1979. Neither the IRS nor FinCEN had a website at that time.

In fact, FinCEN itself would not be created for another eleven years. The IRS did not introduce

Publication 54 until 1995. And Schedule B of Form 1040 was not amended to reference the FBAR

requirement (in a one-line parenthetical at line 7) until 1984.6 By this time, Defendant Kaufman

was firmly ensconced in his life in Israel. He was reasonably focused on his family and

professional life there. He (again, reasonably) was not personally attuned to developments in US

financial reporting law.

                 3.        Kaufman’s reasonable reliance on his US CPAs

         But that is not to say that Kaufman neglected his obligations. Rather, from at least 1979

on, Defendant Kaufman has retained and reasonably relied upon competent accountants to prepare

his income tax returns and keep abreast of any other filings Kaufman may need to make with the

IRS. [Kaufman Aff’t ¶¶6 & 17.] This is precisely the sort of “ordinary business care” that

reasonable cause requires. To Kaufman, everything seemed to be properly taken care of. Until this

case, Mr. Kaufman has had no issues with the IRS. His returns and other filings were always

properly prepared, filed, and accepted. [Id. at ¶11.] Nothing happened that would indicate that

Defendant Kaufman needed to do anything other than what he had been doing for the past 30+

years. [Id. at ¶¶4, 11, 14, 18.]

         It should be noted that in November of 2005, CPA Foss passed away. [Id. at ¶¶11 & 16.]

But his accounting firm remained a going concern. [[Id. at ¶15–16.] It was purchased by another


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                   These facts are matters of public record that Defendant will ask the Government to stipulate to—or
for the Court to judicially notice—at trial.

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well-regarded CPA firm named Manzi, Pino & Company, P.C. (“Manzi Pino”). [Id. at ¶16.]

Importantly, continuity was preserved. Manzi Pino acquired not only CPA Foss’s client

relationships and data, but also its employees. [Id. at ¶16.] These employees had been handling

Kaufman’s account and preparing Kaufman’s returns along with CPA Foss for years before CPA

Foss died. [Id. at ¶16.] These employees were likewise familiar with Kaufman, knew that Kaufman

lived and worked exclusively in Israel, and knew that Kaufman had Israeli financial accounts. [Id.

at ¶16.] Still, even after Manzi Pino acquired CPA Foss’s firm, they never advised Kaufman that

he was required to file an FBAR form.

         Another observation should be made at this point. In the scheme of things, Kaufman’s US

tax filing obligations were of relatively low priority both to Kaufman and to his CPAs. [[Id. at

¶13.] And this was completely reasonable. As set forth above, Kaufman’s US tax burden was de

minimus because his earnings were already subject to the higher Israeli income tax. Accordingly,

he rarely owed any US tax and when he did the amounts were minimal. [Id.] Due to this

circumstance, both Kaufman and (likely) his CPAs subjected Kaufman’s account to lower level of

scrutiny than they would have if substantial dollars were involved. Again, this was reasonable.

These sorts of decisions—how to allocate limited available attention—are entirely consistent with

reasonable behavior and ordinary business care. Perfection in all things is not reasonable. Indeed,

it is not even possible.

          There are some bad facts for Kaufman, however. By the undersigned’s count there are

two. First, on September 15, 2010—after the due date for his 2009 FBAR but before the due date

for his 2010 FBAR—Chris Devine (a CPA who worked first for CPA Foss and then for Manzi

Pino), asked Kaufman in an email whether Kaufman had any “foreign accounts” and Kaufman

replied that he did not. [Kaufman Aff’t at ¶19.] Notably, however, Kaufman had regularly



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disclosed to Manzi Pino and CPA Foss that he had Israeli financial accounts during the preceding

thirty years of their professional relationship. Accordingly, when CPA Devine asked Kaufman

this question, Kaufman interpreted the question as asking whether Kaufman had any accounts

foreign to him—that is, outside of the United States and Israel. [Id. at ¶19.]

         The reasonableness of this interpretation has been observed by no lesser an authority than

Charles P. Rettig, the current IRS Commissioner, in publications he made while in private practice.

In an article entitled “Why the Ongoing Problem with FBAR Compliance?” published in the

August–September 2016 edition of the Journal of Tax Practice & Procedure,7 now-Commissioner

Rettig observed as follows:

                The United States is among very few countries that tax their citizens’
                worldwide income, even when those citizens choose to indefinitely live
                abroad. Even though they have no resulting tax obligations, under FATCA,
                nonresident Americans are generally required to file tax returns and reports
                regarding their “foreign” financial accounts and assets, subject to the threats
                of significant penalties and criminal sanctions. In addition, for most, their
                “foreign” accounts and assets are typically located in their country of
                residence. Such accounts are only “foreign” when viewed from a U.S.
                perspective.

Id. at 38 (emphasis added).

         In Kaufman’s case, specifically, his interactions with his CPAs bolstered the

reasonableness of this interpretation. Since 1982, Schedule B of a Form 1040 U.S. Income Tax

return includes a question asking whether the reporting taxpayer has any financial accounts in any

“foreign country,” without further elaboration. [Kaufman Aff’t at ¶20.] Each year since 1982,

CPA Floss (and later Manzi Pino) delivered to Kaufman a prepared Form 1040 with the answer to

this question checked “no.” [Id.] They did so despite the fact that Kaufman was completely

forthright with his CPAs that he lived and worked in Israel and maintained financial accounts



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                    For the court’s ease of reference, this publication is also attached.

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there. Indeed, each of Kaufman’s returns since 1979 clearly list Kaufman’s Israeli address as the

very first information at the top of the form. [Id. at ¶¶12, 20–21.] Further, the returns are replete

with information on Kaufman’s Israeli employment, earnings, and Israeli taxes paid. For example,

the word “Israel” appears on Kaufman’s 2008 Tax Return no fewer than 7 times, notably in

Kaufman’s address and his employer’s address, and detailing tax payments made in Israeli shekels.

[Id. at ¶¶12, 20–21.] Every year that Kaufman received a Form 1040 Schedule B from his CPAs

indicating that he had no foreign accounts, his belief that the term referred to accounts outside of

Israel became more firm and—crucially—more reasonable. [Id. at ¶¶12, 20–21.]

         Second, on June 12, 2009, CPA Devine sent Kaufman an email stating that he wanted to

remind Kaufman “that US Department of Treasury Form TD 90-22.1, Report of Foreign Bank

Account and Financial Accounts, is due 6/30/09 if you are required to file.” [Id. at ¶22 (emphasis

added).] Manzi Pino included a similar notice with Kaufman’s 2008 Tax Return. [Id.] But

Kaufman had never heard of a Form TD 90-22.1 before. [Id.] Further, he had hired and paid CPA

Floss and Manzi Pino to inform him of and prepare any filings that needed to be made with the

IRS. He therefore reasonably believed that if he had to file such a form, his CPAs would have

prepared the form and would have told him that he had to file it. [Id. at ¶¶6, 16, 17, 22.] He therefore

reasonably believed that these notices were a sort of boilerplate that did not apply to him. [Id. at

¶22.]

         Kaufman continued to behave reasonably through June 30, 2011, the due date for his 2010

FBAR. Manzi Pino finally correctly informed Kaufman that he was required to file FBAR forms

around September 2011. [Kaufman Aff’t ¶23.] This was before the due date for Kaufman’s 2010

Form 1040 Tax Return, but after the due date for Kaufman’s 2010 FBAR. [Id.]




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         At this time, Kaufman reasonably lost faith in Manzi Pino. Manzi Pino had failed to inform

him of his FBAR filing obligations for years.8 [Kaufman Aff’t ¶23.] And Kaufman did not trust

them to get it right overnight. But, again, Kaufman did not simply ignore the problem. Instead, he

again acted reasonably. He hired another CPA—one who lived in Israel and specialized in US tax

law. That CPA then referred Kaufman to an Israeli attorney who specialized in FBAR matters. [Id.

at ¶24.] Together, they prepared and filed Kaufman’s delinquent FBAR forms and amended tax

returns. [Id. at ¶24.]

                  4.        Kaufman’s Poor Health at the Relevant Times

         Finally, because ordinary business care is evaluated in light of the totality of the

circumstances, a word needs to be said about Kaufman’s health during the years at issue. At the

times relevant to this case, Kaufman was not well. [Kaufman Aff’t at ¶25.] On February 11, 2010

(about four months before the June 30, 2010 due date of his 2009 FBAR) Kaufman suffered a

serious heart attack. He was immediately hospitalized for eight days and subject to intermittent

hospitalization in the months that followed. [Id. at ¶24.] Additionally, on January 13, 2011,

Kaufman was struck by a car while he was on a walk. [Id. at ¶27.] He suffered head trauma and

was taken to the hospital by ambulance. [Id.] As a result of both incidents, Kaufman had trouble

concentrating and cognitive impairment. [Id. at ¶28.] Following the January 2011 motor vehicle




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                  Kaufman does not know why Manzi Pino erred in this regard. It is beyond the scope of this case in
any event. But Manzi Pino’s mistake is not unusual. As late as 2015, 7.2 million of the estimated 8.7 million Americans
living abroad did not file an FBAR. See Charles P. Rettig, “Why the Ongoing Problem with FBAR Compliance?” J.
Tax Prac. & Proc. (Aug–Sep. 2016). And, by then, the FBAR compliance rate had increased by a whopping 17 percent
per year, every year since 2010. Id. In reality, the FBAR filing requirement was under-publicized for a long time,
including among professional circles. It became a hot topic in professional circles, however, in late 2009. At this point,
the United States Department of Justice finally cracked Swiss Bank Secrecy by entering a non-prosecution agreement
with UBS that required it to disclose names of Americans using foreign UBS accounts to hide assets from the IRS.
This information was subsequently used to seek massive penalties for these American’s willful failure to disclose their
accounts on an FBAR form. Of course, Kaufman has nothing to do with UBS. And the Government does not contend
that the Kaufman’s failure to disclose was willful. But it is very possible that Manzi Pino was simply not aware of the
FBAR requirements themselves until the publicity resulting from the Government’s UBS action.

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accident, specifically, Kaufman consulted with a neuropsychologist and psychiatrist. They

determined that Kaufman suffered deficiencies in cognition, attention, and memory, and could not

remember tasks he had to complete and instructions that he had read. [Id.] Accordingly, they

recommended that Kaufman could no longer work. [Id.] These circumstances make Kaufman’s

reliance on Manzi Pino to properly inform him of his filing obligations during the years at issue

all the more reasonable.

          In light of the foregoing, the Government’s summary judgment motion must be denied. A

reasonable jury could conclude, based upon the evidence forecasted above, that Kaufman acted

with ordinary business care in light of the totality of his circumstances, but that he nevertheless

failed to file his FBAR forms. In such a situation, Kaufman acted with reasonable cause and the

law does not permit the penalty that the Government seeks. Whether Kaufman behaved reasonably

remains a question of fact for a jury to decide. See Williams v. Utica College of Syracuse

University, 453 F.3d 112, 118–19 (2d Cir. 2006).

    II.         Partial Summary Judgment in Defendant’s favor is appropriate to the extent that
                the Government seeks a penalty greater than $30,000—$10,000 for each FBAR
                form not timely filed.

          Although summary judgment is not appropriate as to Defendant Kaufman’s liability in this

case, summary judgment is appropriate against the Government to the extent that it seeks a non-

willful FBAR penalty greater than $30,000—$10,000 for each of the Defendant Kaufman’s

delinquent FBAR forms. Defendant Kaufman has committed three non-willful FBAR violations

by filing accurate 2008, 2009, and 2010 FBAR penalties after their respective due dates. In doing

so, he failed to timely disclose twelve accounts for 2008, twelve accounts for 2009, and seventeen

accounts for 2010.




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         Section 5321(a)(5)(A) of Title 31 of the U.S. Code authorizes the non-willful FBAR

penalty at issue. It states that the Treasury Secretary may impose a penalty “on any person who

violates, or causes any violation of, any provision of section 5314 [which contains the FBAR

reporting requirement].” Section 5321(a)(5)(B)(i) cabins that discretion. It further states that

(unless a violation is willful) “the amount of any civil penalty imposed under subparagraph (A)

shall not exceed $10,000.” An important question therefore emerges: is the “violation” punishable

by up to $10,000 the failure to timely file the FBAR form? Or is the “violation” the failure to

disclose each particular account during any given year?

         If the violation is per form, Kaufman is subject to maximum penalty of $30,000 in this

case—$10,000 for each late-filed form (one in Tax Year 2008, one in Tax Year 2009, and one in

Tax Year 2010). If the violation is per account, Kaufman is subject to a maximum penalty of

$410,000 for the conduct in this case ($120,000 for his twelve undisclosed accounts in Tax Year

2008, $120,000 for his twelve undisclosed accounts in Tax Year 2009, and $170,000 for his

seventeen undisclosed foreign accounts in Tax Year 2010).

         The Government takes the position that the statute authorizes a penalty of $10,000 per

untimely disclosed account, per year. Perhaps recognizing the patent absurdity of a life-ruining

$410,000 penalty in this case, however, the Government has exercised its unilateral discretion to

impose a lesser penalty of “only” $144,244. But even this penalty is not permitted. The correct

reading of Section 5321(a)(5)(b)(i) is that it permits a penalty of only $10,000 per “violation,” and

that Kaufman’s single “violation” each year was his failure to timely file the FBAR form when

due.

         This presents a matter of first impression for this Court. Indeed, only one other district

court in the country appears to have addressed the issue. In United States v. Boyd, Case No. 18-



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cv-803 (C.D. Cal. Apr. 23, 2019), the Central District of California held for the Government. That

case—and specifically this issue—is presently subject of appeal before the Ninth Circuit in Boyd

v. United States, Case No. 19-55585 (9th Cir. 2019).9 For the reasons that follow, this Court (and,

for that matter the Ninth Circuit) should determine that that Section 5321(b)(5)(b)(i) limits a non-

willful FBAR penalty to $10,000 per “violation,” which term in turn refers to the failure to timely

file an FBAR form for any given year. Under such a reading, summary judgment would be

appropriate in Kaufman’s favor to the extent that the Government’s claim exceeds $30,000.

         A.         An analysis of the relevant statutes

         Since this question presents an issue of statutory interpretation, the Court should of course

start with the text of the relevant statutes. They are reproduced below. First, Section 5321(a)(5)

provides for the penalty at issue and limits its amount. It states as follows

                   (A) Penalty authorized.— The Secretary of the Treasury may impose a
                   civil money penalty on any person who violates, or causes any violation
                   of, section 5314 [the FBAR requirement].

                   (B) Amount of penalty—

                       (i) In general.—Except as provided in subparagraph (C) [for willful
                   violations], the amount of any civil penalty imposed under subparagraph
                   (A) shall not exceed $10,000.

31 U.S.C. § 5321(a)(5). Section 5314, however, does not directly describe a requirement that a

taxpayer may violate. Instead, it describes certain requirements the Treasury Secretary shall

impose. As relevant to this case, Section 5314 directs the Secretary to require taxpayers to “keep

records, file reports, or keep records and file reports.” Section 5314 states as follows:

                (a) Considering the need to avoid impeding or controlling the export of
                monetary instruments and the need to avoid burdening unreasonably a person
                making a transaction with a foreign financial agency, the Secretary of the

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                  Indeed, the matter has been the subject of extensive briefing in that case. The amicus brief of the
American College of Tax Counsel, prepared by former Acting Assistant Attorney General in charge of the DOJ’s Tax
Division, Caroline Ciraolo, is particularly helpful.

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                Treasury shall require a resident or citizen of the United States or a person
                in, and doing business in, the United States, to keep records, file reports, or
                keep records and file reports, when the resident, citizen, or person makes a
                transaction or maintains a relation for any person with a foreign financial
                agency. The records and reports shall contain the following information in
                the way and to the extent the Secretary prescribes: (1) the identify and address
                of participants in the transaction or relationship. (2) the legal capacity in
                which the person is acting. (3) the identity of the real parties in interest. (4) a
                description of the transaction.

31 U.S.C. § 5314(a). In response, the Treasury Secretary promulgated 31 C.F.R. § 1010.350, which

requires persons with foreign accounts to report their relationships to the accounts “on a reporting

form,” specifically, “the Report of Foreign Bank and Financial Accounts (TD-F 90-22.1) [the

FBAR].”

         A plain reading of these statutes demonstrates that Congress authorized up to a $10,000

penalty for a non-willful “violation” of 31 U.S.C. § 5314. And Section 5314 itself requires the

filing of reports. Accordingly, the plain language of these statutes shows that the $10,000 penalty

limitation applies per report rather than per account.

         B.         Applicable cannons of statutory construction support Kaufman’s reading

         Important cannons of statutory construction also lead to this conclusion. First, it is well

settled that “Congress generally acts intentionally when it uses particular language in one section

of a statute but omits it in another.” Republic of Sudan v. Harrison, 139 S.Ct. 10408, 1058 (2019).

Later on within Section 5321 itself, Congress demonstrated that it knows how to base penalties on

undisclosed accounts rather than unfiled forms. Section 5321(a)(5)(D)(ii) discusses the penalty

for willful failure to file an FBAR. That section pegs the applicable penalty to the following: “in

the case of a violation involving a failure to report the existence of an account or any identifying

information required to be provided with respect to an account, the balance in the account at the

time of the violation.” By contrast, the non-willful penalty at Section 5321(a)(5)(B)(i) omits any

reference to accounts at all. Well settled cannons of statutory construction require the inference
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that, accordingly, the non-willful FBAR penalty amount does not turn on the number of accounts

a taxpayer may have.

         Second, “[a] statute should be interpreted in a way that avoids absurd results.” SEC v.

Rosenthal, 650 F.3d 156, 162 (2d Cir. 2011). And the Government’s proposed interpretation is

indeed absurd. The non-willful FBAR penalty punishes only accidental failure to file an FBAR

form. In such a situation, the number of accounts that an individual holds does not correlate with

the blameworthiness of his conduct. By definition, he was not trying to conceal any of his accounts.

Rather, his fault lies in overlooking the FBAR requirement completely. It is accordingly absurd to

interpret Section 5321(a)(5)(B)(i) to peg the non-willful FBAR penalty to the number of accounts

a person just so happens to have. This contrasts nicely with the willful FBAR penalty at Section

5321(a)(5)(D)(i). Where a taxpayer conceals his accounts on purpose, the blameworthiness of his

conduct does indeed correlate to how many accounts he is hiding, rather than how many forms the

Government requires.

         Finally, the rule of lenity applies in the face of an ambiguous penalty statute. If the Court

determines that Section 5321(a)(5)(B)(i) is anything but clear, the rule of lenity requires that the

Court construe it against the Government and in favor of Defendant Kaufman. “[T]he rule of lenity

. . . applies if, after considering text, structure, history, and purpose, there remains a grievous

ambiguity or uncertainty in the statute, such that the Court must simply guess as to what Congress

intended.” Barber v. Thomas, 560 U.S. 474, 488 (2010). The rule is most often applied in the

criminal context, but also applies “when the civil sanctions in question are punitive in character.”

Leslie Salt Co. v. United States, 55 F.3d 1388, 1398 (9th Cir. 1995); see also Johnson v. United

States, 135 S.Ct. 2551, 2577 n.1 (2015) (Thomas, J., concurring) (“[A] law imposing a monetary

exaction as punishment for noncompliance with a regulatory mandate is penal.”). Even in the tax



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context, “tax provision[s] which impose[] a penalty [are] to be construed strictly; a penalty cannot

be assessed unless the words of the provision plainly impose it.” Bradley v. United States, 817

F.2d 1400, 1402–03 (9th Cir. 1987).

         C.     The Treasury Departments’ own publications have, at times, supported Kaufman’s
                view.

         In its more clear-headed moments, the Treasury Department itself has recognized the

wisdom of treating Section 5321(a)(5)(B)(i) to permit only a single $10,000 penalty per non-

willful failure to file an FBAR form. Most notably, in 2015, the IRS implemented a policy that “in

most cases, examiners will recommend one penalty per open year, regardless of the number of

unreported foreign accounts.” Internal Revenue Manual 4.26.16.6.4.1.10 Further, the FBAR

instructions—drafted by the Treasury Department itself—state that “[a] person who is required to

file an FBAR and fails to properly file may be subject to a civil penalty not to exceed $10,000 per

violation.” Form TD F-22.1 “Instructions ‘Penalties.’” (emphasis added). This term “violation”

refers back to failure to file “an FBAR” and implies that the $10,000 penalty is per form. And, of

course, the Treasury Department could very easily have said that the civil penalty is “not to exceed

$10,000 per undisclosed account.” But it didn’t.

         Publications by FinCEN—the Treasury Department bureau that since 1990 actually

collects and uses FBAR information—likewise suggest an understanding that Section

5321(a0(5)(B)(i)’s $10,000 limit applies per form. In its publication Financial Crimes

Enforcement Network: Amendments to the Bank Secrecy Act Regulations—Reports of Foreign

Financial Accounts, 75 FR 844-01, 2010 WL 667290, at *8854 (Fed. 26, 2010), FinCEN described

the FBAR penalty regime and observed that “[a] person who is required to file an FBAR and fails



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                Because Kaufman’s violations occurred in 2009, 2010, and 2011, he does not receive the benefit of
this policy.

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to properly file may be subject to a civil penalty not to exceed $10,000.” Here, FinCEN observes

that the $10,000 limitation applies to each failure to properly file, rather than each undisclosed

account. Again, FinCEN could have stated that a person who fails to file an FBAR is “subject to a

civil penalty not to exceed $10,000 per undisclosed account.” But it did not.

         In sum, the only reasonable interpretation of Section 5321(a)(5)(B)(i) is that it limits the

non-willful FBAR penalty to $10,000 per unfiled FBAR form per year, rather than to $10,000 per

undisclosed account per year. Accordingly, this Court should grant partial summary judgment in

Defendant Kaufman’s favor to the extent that the Government’s seek more than $30,000 in

penalties in this suit.

                                          CONCLUSION

         The Government’s Motion for Summary Judgment must be denied. For the purposes of

this Motion, Defendant Kaufman concedes that the Government has established its prima facia

case that Kaufman committed three non-willful FBAR violations in failing to timely file FBAR

forms for Tax Years 2008, 2009, and 2010. But an important jury question remains: whether this

failure was due to “reasonable cause.” As discussed at length above, whether an individual acts

with ordinary care is almost always a question for the jury. This is especially so where, as here,

ample facts exist that could support a finding that Kaufman behaved as a reasonable and ordinarily

prudent person in his circumstances.

         Partial summary judgment is appropriate, however, on whether the Government can

impose a penalty greater than $10,000 for each of Kaufman’s late-filed FBAR forms. This is a

pure question of law. For the reasons articulated above, the Court should resolve this question in

Kaufman’s favor and enter partial summary judgment to this effect.




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         Finally, it should be noted that even if the Court grants the Government’s motion and enters

summary judgment in its favor, that will not end the case. This court must still review whether the

IRS abused its discretion in determining the amount of the imposed FBAR penalty.

         Date: December 30, 2019                       Respectfully Submitted,

                                                       /s/ Jeffrey M. Sklarz
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below a copy of the foregoing was served by

CM/ECF and/or mail on anyone unable to accept electronic filing. Notice of this filing will be

sent by email to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF System.



Date: December 30, 2019                                /s/ Jeffrey M. Sklarz




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